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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                               )
                                                        )
                       Plaintiff,                       )
                                                        )       4:08CR3059
       vs.                                              )
                                                        )       PRELIMINARY ORDER
JAYRO FLORES,                                           )       OF FORFEITURE
JULIO FLORES-ELENES,                                    )
                                                        )
                       Defendants.                      )



       NOW ON THIS 12th day of November, 2008, this matter comes on before the Court upon

the United States' Motion for Issuance of Preliminary Order of Forfeiture. The Court reviews the

record in this case and, being duly advised in the premises, finds as follows:

       1. The Defendants have entered into Plea Agreements, whereby they have agreed to plead

guilty to Counts I and II of said Indictment. Count I of said Indictment charges the Defendants with

conspiracy to distribute marijuana, a violation of 21 U.S.C. § 846. Count II of said Indictment

charges the Defendants with using a Chrysler Pacifica, Indiana license plate CG212, to facilitate the

commission of the conspiracy and charges said personal property is derived from proceeds obtained

directly or indirectly as a result of the commission of the conspiracy.

       2. By virtue of said plea of guilty, the Defendants forfeit their interest in the subject property,

and the United States should be entitled to possession of said property, pursuant to 21 U.S.C., § 853.

       3. The United States' Motion for Issuance of Preliminary Order of Forfeiture should be

sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:
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        A. The United States' Motion for Issuance of Preliminary Order of Forfeiture is hereby

sustained.

        B. Based upon Count II of the Indictment and the Defendants’ pleas of guilty, the United

States is hereby authorized to seize the Chrysler Pacifica, Indiana license plate CG212.

        C. The Defendants’ interest in said property is hereby forfeited to the United States for

disposition in accordance with the law, subject to the provisions of 21 U.S.C., § 853(n)(1).

        D. The aforementioned forfeited property is to be held by the United States in its secure

custody and control.

        E. Pursuant to 21 U.S.C., § 853(n)(1), the United States forthwith shall publish for at least

thirty consecutive days on an official government internet site (www.forfeiture.gov) notice of this

Order, Notice of Publication evidencing the United States’ intent to dispose of the property in such

manner as the Attorney General may direct, and notice that any person, other than the Defendant,

having or claiming a legal interest in any of the subject forfeited property must file a Petition with

the court within thirty days of the final publication of notice or of receipt of actual notice, whichever

is earlier.

        F. Said published notice shall state the Petition referred to in Paragraph E., above, shall be

for a hearing to adjudicate the validity of the Petitioner's alleged interest in the property, shall be

signed by the Petitioner under penalty of perjury, and shall set forth the nature and extent of the

Petitioner's right, title or interest in the subject property and any additional facts supporting the

Petitioner's claim and the relief sought.




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       G. The United States may also, to the extent practicable, provide direct written notice to any

person known to have alleged an interest in the property subject to this Order as a substitute for

published notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C., § 853(n), in which all interests will be addressed.

       ORDERED this 12th day of November, 2008.


                                                        BY THE COURT:

                                                        s/ RICHARD G. KOPF, JUDGE
                                                        United States District Court




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